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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                            ENTERED
                       IN THE UNITED STATES DISTRICT COURT                            December 27, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                 §
 LUIS CASTANEDA,                                 §
                                                 §
                        Plaintiff,               §
 v.                                              §    CIVIL ACTION NO. H-23-3600
                                                 §
 U.S. BANK TRUST NATIONAL                        §
 ASSOCIATION,                                    §
                                                 §
                        Defendant.               §
                                                 §


                                MEMORANDUM AND ORDER

       The parties have filed a joint motion to abate. (Docket Entry No. 7). The parties’ motion

to abate is granted. This case is stayed and administratively closed. The parties must file any

motion to reinstate to the active docket no later than January 31, 2024.



               SIGNED on December 27, 2023, at Houston, Texas.




                                                     ________________________________
                                                                  Lee H. Rosenthal
                                                             United States District Judge
